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10   Oracle’s counsel on signature page

11

12                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
13                                SAN FRANCISCO DIVISION

14   Michael Katz-Lacabe and Dr. Jennifer       Case No. 3:22-cv-04792-RS
     Golbeck, on behalf of themselves and all
15   others similarly situated,                 JOINT STATUS REPORT REGARDING
                                                SETTLEMENT
16
                   Plaintiffs,                  Judge: Hon. Richard Seeborg
17          vs.                                 Dept: Courtroom: 3
18   ORACLE AMERICA, INC., a corporation        Date Action Filed: August 19, 2022
     organized under the laws of the State of   Trial Date: None set
19
     Delaware,
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                   Defendant.
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                                                                              JOINT STATUS REPORT
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 1           Plaintiffs and Defendant Oracle America Inc. (“Oracle”) (collectively, the “Parties”)

 2   submit this Joint Status Report regarding settlement.

 3           Pursuant to the Joint Stipulation and Order to Stay Discovery and Vacate Case Deadlines

 4   (Dkt. No 124), the Parties are in the process of executing the full-form settlement agreement this

 5   week.

 6           Pursuant to the settlement agreement, Plaintiffs anticipate they will file their unopposed

 7   motion for preliminary approval of the settlement on July 18, 2024. The Parties contemplate

 8   respectfully requesting that the unopposed motion be heard on an expedited basis on August 8,

 9   2024, in the event the Court does not rule on the motion without oral argument before that date.

10   The Parties will submit a stipulation and proposed order regarding scheduling for any hearing

11   concurrently with Plaintiffs’ unopposed motion.

12
      Dated: July 8, 2024                    Respectfully submitted,
13
                                             /s/ Michael W. Sobol
14                                           Michael W. Sobol (SBN 194857)
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24                                           Attorneys for Plaintiffs and the Class
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                                                                                       JOINT STATUS REPORT
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     Dated: July 8, 2024
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 1                                           ATTESTATION

 2          Pursuant to Civil Local Rule 5.1 regarding signatures, I attest that concurrence in the filing

 3   of this document has been obtained from the other signatories.

 4

 5    Dated: July 8, 2024               /s/ Michael W. Sobol
                                        Michael W. Sobol
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